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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

JOHN SAIN, et al., §
§

Plaintiffs, §

V. §
§

BRYAN COLLIER, et al., §
§

Defendants. §

CIVIL ACTION NO.
4:18-cv-04412

ORDER TO APPEAL IN FORMA PAUPERIS

On this date, the Court considered the’ Plaintiffs’ Motion to Appeal In Forma Pauperis. Having
considered the Motion, its attachments, all applicable law, and the disposition of the Case of the Court

GRANTS the motion as follows:

As for the Proceeding In Forma Pauperis the Court Orders:

John Sain GRANTED
David Cummings GRANTED
Phillip Gullett . GRANTED

David Wilson GRANTED

DENIED
DENIED
DENIED .
DENIED

And for the Clerk to provide service to each party, a copy of this Court’s signed order.

IT IS SO ORDERED

Date: , 2019
Houston, Texas

 

 

HONORABLE JUDGE SIM LAKE
